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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                                  --------------x
Inre                                                            :



RCS CAPITAL CORPORATION, et al.,

                               Debtors.
                                                                     Chapter   11
RCS CREDITOR TRUST,
                                                                     Case   No.: I 6-10223(MFW)
                               Plaintifï,
                                                                     Adv. Proc. No.: 18-50204
                            -against

SCHULTE ROTH 8. ZABELLLP,

                               Defendant.




                                                      ANSWER

                       Schulte Roth & Zabel LLP ("SRZ"), the defendant in the above-captioned

adversary proceeding, answers the complaint as follows:

                       1.     Denies knowledge or information sufficient to form a belief as to the

                                              o'9"               ool5", oo16", o'I7", "18tt
allegations in paragraphs "1", "2",006",007",      r "I2",'0I3",                            r "19",0020",

"21"r"25"r"27"r tt30t', and        0t36"
                                            of the complaint.

                       2.     Admits the allegations in paragraphs "3", oo8",ool0",'011","14","29",

'031"r"32"r"33t', and'035" of thg complaint.
                                                                   0034",
                       3.     Denies the allegations in paragraphs        "37", "39", "40", "42",'043",
                o'47" aîd "49" of the complaint.
"44" ,0046" ,

                       4.     Declines to respond to and rejects plaintiff s inappropriate legal

conclusions set forth in paragraphs'04", '05", and '048" of the complaint.



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                      5.           Denies the allegations in paragraph'022" of the complaint except admits

entering into an "Engagement Letter," dated February 26,2015, with RCS Capital Corporation,

RCS CapitaILLC and Realty Capital Securities, LLC (collectively, "RCS"), the terms of which

speak for themselves.

                      6.           Denies the allegations in paragraphs   "23" and"24" of thecomplaint

except admits providing legal services to all three RCS entities from March,2015 through the

Petition Date under the terms of the Engagement Letter.

                      7.           Denies knowledge or information sufficient to form a belief as to the

allegations in paragraph"26" of the complaint except admits receiving funds from all three RCS

entities during the Preference Period.

                      8.           Repeats the responses set forth above to the allegations in paragraphs

"28"r"38"r"41", aîd"45" of thg complaint.

                                           FIRST AFFIRMATIVE DEFENSE
                                                    IInsolvency]

                      9.           On information and beliet RCS was solvent when SRZ received the

payments challenged in the complaint.

                                         SECOND AFFIRMATIVE DEFENSE
                                          lJudicial Estoppel/Lack of Standing]

                          10.      The confirmed reorganization plan ("Plan") in this case (D.L 745,746,

769) and related Plan disclosure documents failed to reserve the plaintiffls asserted claims

against SRZ, for they never disclosed, among other things, the categories of potential defendants,

the value of any asserted claims against SRZ, and the identities of litigation targets such as SRZ.

                          1   1.   In addition, RCS represented to the Court that SRZ was "disinterested"

when it sought to retain SRZ as special litigation counsel, obtained an order from this Court on



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that basis, among other things, and never objected, when it had the opportunity, to the allowance

of SRZ's fees.

                                    THIRD AFFIRMATIVE DEFENSE
                                      fOrdinary Course of Business]

                   12.       All payments if made by RCS to SRZ were (a) in payment of a debt

incurred by RCS in the ordinary course of the business of RCS and SRZ and (b) made in the

ordinary course of business of RCS and SRZ, or (c) made according to ordinary business terms

                                   FOURTH AFFIRMATIVE DEFENSE
                                       [Subsequent New Credit]

                       13.   After receiving any payment from the three RCS entities in 2015, SRZ

gave RCS new value on an unsecured basis in the amount of at least $377 ,699.73         .



                                     FIFTH AFFIRMATIVE DEFENSE
                                      fFailure to State Claim for Reliefl

                       14.   The complaint fails to state a claim for relief against SRZ because, among

other things, one of the three RCS entities, RCS CapitalLLC, is not a debtor in this Court or any

other Court.

                                     SIXTH                 TIVE DEFENSE
                                             [Inconvenient Venue]

                       15    The Court should tiansfer this action to the Southern District of New

York, for neither RCS, SRZ, the witnesses, or the alleged transfers have any connection to this

district.




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                   V/HEREAS, the Court should dismiss the complaint, award costs to SRZ, and

grant SRZ such other relief as is just.

Dated: March 6, 2018
       Wilmington, Delaware


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